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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 MICHAELA MILLER,                               §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §           Case No. 1:15-cv-01166-RP
                                                §
 AMERICAN CORADIUS                              §
 INTERNATIONAL, LLC,                            §
                                                §
       Defendant.                               §

                       NOTICE OF PENDING SETTLEMENT

       Defendant, American Coradius International, LLC, by and through its undersigned

counsel, hereby submits this Notice of Pending Settlement and states that Defendant and

Plaintiff have reached a settlement with regard to this case and are presently drafting,

finalizing, and executing the settlement and dismissal documents. Upon execution of the

same, Defendant and Plaintiff will file the appropriate dismissal documents with the Court.

                                             Respectfully Submitted,

                                             /s/ Whitney L. White
                                             Whitney L. White
                                             State Bar No. 24075269
                                             Sessions, Fishman, Nathan & Israel, L.L.C.
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                                             Attorney for Defendant,
                                             American Coradius International, LLC



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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of April, 2016, a copy of the foregoing was

electronically filed with the Clerk of the Court, United States District Court for the Western

District of Texas and served via CM/ECF upon the following:

 Amy L. Bennecoff Ginsburg
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                                               /s/ Whitney L. White
                                               Whitney L. White




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